
*476OPINION..
Lansdon:
Since only questions of fact are involved in this proceeding, it is only necessary for the Board to say that the petitioner was entitled to deduct the amount of $14,000 in making his income-tax return for 1920. -The evidence is persuasive that the paper in question was worthless at December 31, 1920, and that its worthlessness was ascertained in the taxable year in which it was charged off and deducted. Appeal of Mt. Vernon National Bank, 2 B. T. A. 581; Appeal of Edward F. Dalton, 2 B. T. A. 615.
The deduction of $9,500 claimed for 1921 was on account of a note ascertained to be worthless in 1920, and we approve the Commis.-sioner in his action in disallowing that claim. Appeal of Murchison National Bank, 1 B. T. A. 617; Appeal of West Virginia &amp; Pennsylvania Coal &amp; Coke Co., 1 B. T. A. 790; Appeal of Dover Iron Co., 1 B. T. A. 1123.

Order of redetermination will be entered on 10 days' notice, under Rule 50.

